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.2
tems Inc.
                                             UNITED STATES BANKRUPTCY COURT
                                                     DISTRICT OF IDAHO


        In re:                                                         §
                                                                       §
        ESTAY, PEDRO SERGIO (DECEASED)                                 §     Case No. 11-40208 JDP
        ESTAY, ANN PARSONS                                             §
                                                                       §
                                               Debtor(s)               §

                                               TRUSTEE’S FINAL REPORT (TFR)

                  The undersigned trustee hereby makes this Final Report and states as follows:

               1. A petition under chapter 7 of the United States Bankruptcy Code was filed on
         02/24/2011 . The undersigned trustee was appointed on 02/24/2011 .

                  2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

                3. All scheduled and known assets of the estate have been reduced to cash, released to
        the debtor as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned
        pursuant to 11 U.S.C. § 554 except that the trustee reserves, pursuant to 11 U.S.C. section
        554(c), the estate’s interest in the following: Asset #22 (PROBATE ESTATE TETON COUNTY
        12-209) .RESERVED The filing of the Trustee’s Final Report shall not be deemed an
        abandonment of the estate’s interest in this asset. An individual estate property record and report
        showing the disposition of all property of the estate is attached as Exhibit A.

                  4. The trustee realized gross receipts of                     $       90,225.04

                                      Funds were disbursed in the following amounts:

                                      Payments made under an interim                    61,397.54
                                      disbursement
                                      Administrative expenses                           23,478.69
                                      Bank service fees                                    348.81
                                      Other payments to creditors                            0.00
                                      Non-estate funds paid to 3rd Parties                   0.00
                                      Exemptions paid to the debtor                          0.00
                                      Other payments to the debtor                           0.00




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                                                                                   1
                                         Leaving a balance on hand of                                    $                 5,000.00

       The remaining funds are available for distribution.

             5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank
      account.

             6. The deadline for filing non-governmental claims in this case was 03/02/2012 and the
      deadline for filing governmental claims was 03/02/2012 . All claims of each class which will
      receive a distribution have been examined and any objections to the allowance of claims have
      been resolved. If applicable, a claims analysis, explaining why payment on any claim is not
      being made, is attached as Exhibit C.

                  7. The Trustee’s proposed distribution is attached as Exhibit D.

             8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
      $ 7,761.25 . To the extent that additional interest is earned before case closing, the maximum
      compensation may increase.

             The trustee has received $ 6,900.00 as interim compensation and now requests a sum of
      $ 861.25 , for a total compensation of $ 7,761.25 2. In addition, the trustee received
      reimbursement for reasonable and necessary expenses in the amount of $ 545.33 , and now
      requests reimbursement for expenses of $ 10.58 , for total expenses of $ 555.91 2.

             Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
      foregoing report is true and correct.


      Date: 02/18/2014                                      By:/s/R. SAM HOPKINS
                                                                Trustee



      STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
      exemption 5 C.F.R. § 1320.4(a)(2) applies.




____________________
           1
              The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursement
will be distributed pro rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the
maximum compensation set forth under 11 U.S.C. §326(a) on account of the disbursement of the additional interest.
            2
              If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the amounts listed in the
Trustee’s Proposed Distribution (Exhibit D).

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                                                   INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                     Page:      1
                                                                    ASSET CASES                                                                                  Exhibit A
Case No:             11-40208         JDP    Judge: JIM D. PAPPAS                                     Trustee Name: R. SAM HOPKINS
Case Name:           ESTAY, PEDRO SERGIO (DECEASED)                                                   Date Filed (f) or Converted (c):      02/24/11 (f)
                     ESTAY, ANN PARSONS                                                               341(a) Meeting Date:                  03/30/11
 For Period Ending: 02/18/14
                                                                                                      Claims Bar Date:                      03/02/12


                                  1                                     2                         3                 4               5                           6
                                                                                         Estimated Net Value
                                                                                          (Value Determined      Property                                  Asset Fully
                                                                     Petition/             by Trustee, Less      Formally       Sale/Funds             Administered (FA)/
                           Asset Description                        Unscheduled           Liens, Exemptions,    Abandoned       Received by         Gross Value of Remaining
               (Scheduled and Unscheduled (u) Property)               Values               and Other Costs)     OA=554(a)        the Estate                  Assets

 1. HOME LOCATED AT 1112 SKI HILL ROAD, DRIGGS,                         300,000.00                       0.00                                0.00              FA
 ID
 2. CASH ON HAND                                                              22.00                      0.00                                0.00              FA
    (11)
 3. CHECKING ACCOUNT AT BANK OF COMMERCE                                        0.00                    0.00                                 0.00              FA
 4. HOUSEHOLD GOODS AND FURNISHINGS                                         2,229.00                    0.00                                 0.00              FA
 5. BOOKS, PICTURES AND OTHER ART OBJECTS                                   1,030.00                  150.00                                 0.00              FA
 6. DEBTOR'S CLOTHING                                                         400.00                   50.00                                 0.00              FA
 7. JEWELRY                                                                   120.00                    0.00                                 0.00              FA
 8. SPORTING GOODS                                                            110.00                    0.00                                 0.00              FA
    (11)
 9. 2005 MINI COOPER S.                                                     8,500.00                     0.00                                0.00              FA
    (3)
    03/22/11 Motion for RFS by BMW Bank of North America
    on 05 Mini Cooper--P=OK, NE/NI
    03/23/11 Ltr fr Atty for BMW wtih copies of Stip for Order
    on RFS of the 05 Mini Cooper
    04/13/11 Order Granting Motion For Relief From Stay -
    BMW Bank of North America Signed on 4/12/2011.
 10. 1988 FORD PICKUP                                                        200.00                      0.00                                0.00              FA
    06/04/11 Amended Sch C to Change the DEX on the 1988
    Ford PU fr (11) to (3) $7K
 11. 2010 JOINT STATE REFUNDS (u)                                            180.00                   180.00                              180.00               FA
    04/27/11 Ltr fr DA with copies of
    -- 2010 returns Fed 0 EIC 0 State $180 Filed 04/11/11
 12. EXXON ROYALTIES FROM BA # 02071401 (u)                              Unknown                         0.00                            4,868.13              FA
    04/25/11 for $1,104.32 that was sent to debtors RE BA
    #71401.--DEMAND PP PYMT FR D!
 13. 2010 JOINT FEDERAL REFUND (u)                                                0.00                   0.00                                0.00              FA
    04/27/11 Ltr fr DA with copies of
    -- 2010 returns Fed 0 EIC 0 State $180 Filed 04/11/11
 14. EXXON ROYALTIES FROM BA #02074501 (u)                                   0.00                        0.00                              189.32              FA
 15. US BANCORP STOCK (u)                                                    0.00                        0.00                                0.00              FA
 16. ENCORE ENERGY PARTNERS ROYALTIES (u)                                Unknown                         0.00                            2,751.77              FA
    contact info per 1099 972-673-2780 re acct #'s 34440,
    34521, .

    04/27/11 Ltr fr DA with copies of
    -- 2010 stmt fr oil royalties
    --- Encore Energy Partners Operating LLC

    December 16, 2011 (JJACKMAN) Email fr TRacie Jones re
    all distributions made to D since DOF--ASKED JAS TO
    DEMAND TOTALS $1,979.68. --NOT COLLECTING B/C




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                                                   INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                    Page:      2
                                                                    ASSET CASES                                                                                 Exhibit A
Case No:             11-40208         JDP    Judge: JIM D. PAPPAS                                      Trustee Name: R. SAM HOPKINS
Case Name:           ESTAY, PEDRO SERGIO (DECEASED)                                                    Date Filed (f) or Converted (c):    02/24/11 (f)
                     ESTAY, ANN PARSONS                                                                341(a) Meeting Date:                03/30/11
                                                                                                       Claims Bar Date:                    03/02/12


                                  1                                      2                         3                 4               5                         6
                                                                                          Estimated Net Value
                                                                                           (Value Determined      Property                                Asset Fully
                                                                      Petition/             by Trustee, Less      Formally       Sale/Funds           Administered (FA)/
                           Asset Description                         Unscheduled           Liens, Exemptions,    Abandoned       Received by       Gross Value of Remaining
               (Scheduled and Unscheduled (u) Property)                Values               and Other Costs)     OA=554(a)        the Estate                Assets

    D WAIVED DISCHARGE INSTEAD.
    -- 07/25/11 7011 ANN PARSONS ESTAY                    362.84
    -- 06/25/11 7011 ANN PARSONS ESTAY                    429.96
    -- 05/25/11 7011 ANN PARSONS ESTAY                    403.75
    -- 04/25/11 7011 ANN PARSONS ESTAY                    410.60
    -- 03/25/11 7011 ANN PARSONS ESTAY                    316.32
    -- 02/28/11 7011 ANN PARSONS ESTAY                    56.21

   December 15, 2011 (JJACKMAN) Email fr Tracie Jones re
   all distributions are made by Encore Energy Partners
   Operating LLC, will update account accordingly--SAYS
   THAT VANGUARD & ENCORE IS ONE & THE SAME
   December 15, 2011 (JJACKMAN) Email to Tracie Jones
   with Vanguard re need info on co-d's interest with vanguard,
   all distributions need to be sent to T
 17. CONTINENTAL RESOURCES ROYALTIES (u)                                           0.00                   0.00                            127.63              FA
   contact info per 1099 is Liz Phillips at 580-249-4705. acct
   #202071-03 tracking #36264T1 AND acct #500056 tracing
   #8651T2..

    04/27/11 Ltr fr DA with copies of
    -- 2010 stmt fr oil royalties
    --- 1099 fr Continental Resources, Inc. $107.50
    --- 1099 fr Continental Resources Inc. $137.43

    December 13, 2011 (JJACKMAN) TC between Jessica and
    Beth Moyer at Continental resources re D was sent out two
    diff distributions since DOF--- Feb 25th, $40.92 -- April
    25th $29.93. Send NOB and letter to turnover future
    distributions to FAX 580-234-5358 ATTN: Beth
    Moyer.--NOT DEMANDING OF D B/C SHE WAIVED
    HER DISCHARGE INSTEA.!
 18. HOWELL PETROLEUM ROYALTIES (u)                                                0.00                   0.00                              0.00              FA
    December 13, 2011 (JJACKMAN) TC between Jessica and
    Marian Smith with Anadario Petroleum - Andario Petroleum
    bout out Howell Petroleum, re funds 2010 1099 was from
    old 2007 production and was paid in 2010, Anadario then
    sold thier interest to Encore Oil and Gas in 2007. The
    debtor will not get any other royalties from Anadario, but
    not sure if D still has interest with Encore Oil and Gas, does
    not have a contact number for them --- OK, PASS ON
    HOWELL PETROLEUM, BUT STILL NEED TO LOOK
    INTO ONE FOR ENCORE ENERGY PARTNERS.




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                                                                    ASSET CASES                                                                                  Exhibit A
Case No:             11-40208         JDP    Judge: JIM D. PAPPAS                                     Trustee Name: R. SAM HOPKINS
Case Name:           ESTAY, PEDRO SERGIO (DECEASED)                                                   Date Filed (f) or Converted (c):      02/24/11 (f)
                     ESTAY, ANN PARSONS                                                               341(a) Meeting Date:                  03/30/11
                                                                                                      Claims Bar Date:                      03/02/12


                                  1                                     2                         3                 4               5                           6
                                                                                         Estimated Net Value
                                                                                          (Value Determined      Property                                  Asset Fully
                                                                     Petition/             by Trustee, Less      Formally       Sale/Funds             Administered (FA)/
                           Asset Description                        Unscheduled           Liens, Exemptions,    Abandoned       Received by         Gross Value of Remaining
               (Scheduled and Unscheduled (u) Property)               Values               and Other Costs)     OA=554(a)        the Estate                  Assets

    contact info per 1099 is 1201 Lake Robbins Dr, The
    Woodlands, TX 77380. acct #'s RV70992104 tracking
    #5000000777904T3--RCVD TWO 2010 1099'S FR THIS
    ACCOUNT ONE FOR $2,268.71 FR ROYALTIES AND
    ONE FOR $1,334.89 FOR NONEMPLOYEE
    COMPENSATION.
    try calling (832) 636-1000--is a number found on google for
    Anadarko petroleum that came up when searched for Howell
    Petroleum and it has the same address. Maybe they changed
    biz names.

   04/27/11 Ltr fr DA with copies of
   -- 2010 stmt fr oil royalties
   --- 1099 fr Howell Petroleum Corpt $2,268.71
   --- 1099 fr Howell Petroleum Corp $1334.89
 19. EXXON MOBIL ROYALTIES #0J25075803 (u)                                        0.00                   0.00                            1,505.58              FA
   February 29, 2012 (RBERLS) TC between Becca &
   Claudette w/ Exxon Mobile. Re we need to speak w/ the
   working interest dept 713-680-7337 Lu Gibbs is the only
   person in that dept that handles all requests. She will send
   him an email asking him to call. She again said that in re to
   the stmts that we have been rcving that shows net amounts
   and then EFT's, but we haven't rcvd the $ to it, she said the
   same thing she told us last yr that the D had not been
   making the pymts, so the working interest dept will offset
   the expenses. The working interest dept must be the ones to
   look up to see how much the expenses are and how much
   was sent to the D. She sd re the two new 0J25075803 &
   0J25075802 accounts, those accounts are joint interest
   accounts. That is once the working interest are pd for the
   expenses, then they issue joint interest checks.--SO, SINCE
   WE JUST BEGAN RECEIVING THEM IN JAN, MAYBE
   THEY DID GET ALL OF THE CONVERSION OF PYMTS
   CORRECTED. NEED TO TALK W/ WORKING
   INTEREST DEPT TO FIND OUT HOW MUCH ISSUED
   TO D SINCE MAY 2011 WHEN WE NOTIFIED THEM &
   HOW MUCH WAS APPLIED TO EXPENSES. THEN
   DECIDE IF IT IS STILL WORTH JAS DEMANDING THE
   PYMTS.
 20. EXXON MOBIL ROYALITES #0J25075802 (u)                                        0.00                   0.00                            6,174.96              FA
   February 29, 2012 (RBERLS) TC between Becca &
   Claudette w/ Exxon Mobile. Re we need to speak w/ the
   working interest dept 713-680-7337 Lu Gibbs is the only
   person in that dept that handles all requests. She will send




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                                                                    ASSET CASES                                                                                 Exhibit A
Case No:             11-40208         JDP    Judge: JIM D. PAPPAS                                     Trustee Name: R. SAM HOPKINS
Case Name:           ESTAY, PEDRO SERGIO (DECEASED)                                                    Date Filed (f) or Converted (c):   02/24/11 (f)
                     ESTAY, ANN PARSONS                                                                341(a) Meeting Date:               03/30/11
                                                                                                       Claims Bar Date:                   03/02/12


                                  1                                     2                         3                  4               5                         6
                                                                                         Estimated Net Value
                                                                                          (Value Determined      Property                                 Asset Fully
                                                                     Petition/             by Trustee, Less      Formally        Sale/Funds           Administered (FA)/
                           Asset Description                        Unscheduled           Liens, Exemptions,    Abandoned        Received by       Gross Value of Remaining
               (Scheduled and Unscheduled (u) Property)               Values               and Other Costs)     OA=554(a)         the Estate                Assets

    him an email asking him to call. She again said that in re to
    the stmts that we have been rcving that shows net amounts
    and then EFT's, but we haven't rcvd the $ to it, she said the
    same thing she told us last yr that the D had not been
    making the pymts, so the working interest dept will offset
    the expenses. The working interest dept must be the ones to
    look up to see how much the expenses are and how much
    was sent to the D. She sd re the two new 0J25075803 &
    0J25075802 accounts, those accounts are joint interest
    accounts. That is once the working interest are pd for the
    expenses, then they issue joint interest checks.--SO, SINCE
    WE JUST BEGAN RECEIVING THEM IN JAN, MAYBE
    THEY DID GET ALL OF THE CONVERSION OF PYMTS
    CORRECTED. NEED TO TALK W/ WORKING
    INTEREST DEPT TO FIND OUT HOW MUCH ISSUED
    TO D SINCE MAY 2011 WHEN WE NOTIFIED THEM &
    HOW MUCH WAS APPLIED TO EXPENSES. THEN
    DECIDE IF IT IS STILL WORTH JAS DEMANDING THE
    PYMTS.
 21. ENDURO OPERATING LLC - OIL ROYALTIES (u)                                     0.00                   0.00                             54.87               FA
    SLICK CREEK UMIT - WASHAKI COUNTY
 22. PROBATE ESTATE TETON COUNTY 12-209 (u)                                       0.00             Unknown                                0.00            Unknown
 23. SALES PROCEEDS FROM ROYALTIES. ASSETS 14-20                                  0.00                 0.00                          74,360.00              FA
 (u)
 INT. Post-Petition Interest Deposits (u)                                Unknown                         0.00                             12.78               FA

                                                                                                                                                  Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                     $312,791.00                    $380.00                       $90,225.04                         $0.00
                                                                                                                                                    (Total Dollar Amount
                                                                                                                                                           in Column 6)

 _________________________________________________________________________________________________________________________
 Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:

 FINAL

 January 10, 2014 (SAM) Peter was appointed as P.R. of the estate on Nov. 15, 2012.-----no activity
 since---we will close without abandoning our interest in the probate----

 DISCHARGE REVOKED.
 January 13, 2012 (JJACKMAN) Discharge Revoked. Signed on 1/12/2012.

 RELATIVES TO CASE #10-42114 - PETER ESTAY
                #10-42116 - SCOTT ESTAY




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                                                              ASSET CASES                                                                    Exhibit A
Case No:            11-40208      JDP   Judge: JIM D. PAPPAS                            Trustee Name: R. SAM HOPKINS
Case Name:          ESTAY, PEDRO SERGIO (DECEASED)                                      Date Filed (f) or Converted (c):   02/24/11 (f)
                    ESTAY, ANN PARSONS                                                  341(a) Meeting Date:               03/30/11
                                                                                        Claims Bar Date:                   03/02/12
 Initial Projected Date of Final Report (TFR): 06/30/13        Current Projected Date of Final Report (TFR): 12/31/14




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                       Exhibit B
  Case No:           11-40208 -JDP                                                                                        Trustee Name:                      R. SAM HOPKINS
  Case Name:         ESTAY, PEDRO SERGIO (DECEASED)                                                                       Bank Name:                         The Bank of New York Mellon
                     ESTAY, ANN PARSONS                                                                                   Account Number / CD #:             *******6965 Money Market Account
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 02/18/14                                                                                             Blanket Bond (per case limit):     $ 78,692,000.00
                                                                                                                          Separate Bond (if applicable):


           1              2                              3                                               4                                            5                        6                7
    Transaction       Check or                                                                                                   Uniform                                                    Account / CD
       Date           Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)
                                                                                  BALANCE FORWARD                                                                                                        0.00


   C      05/06/11       11        ISTC                                           2010 JOINT STATE REFUNDS                      1224-000                    180.00                                   180.00
                                                                                  DEPOSIT CHECK #124675094


   C      06/03/11       14        EXXON MOBILE CORPORATION                       GAS/OIL PMT on acct #4501                     1223-000                     20.51                                   200.51
                                                                                  DEPOSIT CHECK #1743061


   C      06/03/11       12        EXXON MOBILE CORPORATION                       GAS/OIL PMT on ACCT #1401                     1223-000                    252.03                                   452.54
                                                                                  DEPOSIT CHECK #1743055


   C      07/01/11       14        EXXON MOBILE CORP                              OIL/GAS PAYMENT on acct #4501                 1223-000                     10.22                                   462.76
                                                                                  DEPOSIT CHECK #1764116


   C      07/01/11       12        EXXON MOBIL CORPORATION                        OIL/GAS PAYMENT on acct #1401                 1223-000                    242.83                                   705.59
                                                                                  DEPOSIT CHECK #1764110


   C      07/29/11       12        EXXON MOBIL CORPORATION                        OIL/GAS PAYMENT on acct #1401                 1223-000                    220.15                                   925.74
                                                                                  DEPOSIT CHECK #0001785175


   C      08/30/11       12        EXXON MOBILE CORPORATION                       EXON GAS/OIL PMT                              1223-000                     17.83                                   943.57
                                                                                  DEPOSIT CHECK #1806159


   C      08/30/11       12        EXXON MOBILE CORPORATION                       EXON GAS/OIL PMT                              1223-000                    205.53                                  1,149.10
                                                                                  DEPOSIT CHECK #1806153


   C      09/27/11       12        EXXON MOBIL                                    OIL/GAS PAYMENT                               1223-000                    171.45                                  1,320.55
                                                                                  DEPOSIT CHECK #1806153



                                                                                                                          Page Subtotals                   1,320.55                  0.00
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                              Exhibit B
  Case No:           11-40208 -JDP                                                                                            Trustee Name:                      R. SAM HOPKINS
  Case Name:         ESTAY, PEDRO SERGIO (DECEASED)                                                                           Bank Name:                         The Bank of New York Mellon
                     ESTAY, ANN PARSONS                                                                                       Account Number / CD #:             *******6965 Money Market Account
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 02/18/14                                                                                                 Blanket Bond (per case limit):     $ 78,692,000.00
                                                                                                                              Separate Bond (if applicable):


           1              2                              3                                                4                                               5                        6                   7
    Transaction       Check or                                                                                                       Uniform                                                       Account / CD
       Date           Reference                Paid To / Received From                        Description Of Transaction            Tran. Code       Deposits ($)         Disbursements ($)         Balance ($)
   C      09/30/11                 The Bank of New York Mellon                    Bank and Technology Services Fee                  2600-000                                             25.00             1,295.55


   C      10/04/11       17        CONTINENTAL RESOURCES INC                      OIL/GAS PMT                                       1223-000                      38.68                                    1,334.23


   C      10/12/11                 Transfer to Acct #*******7098                  Bank Funds Transfer                               9999-000                                           1,334.23                 0.00



                                                                                                          COLUMN TOTALS                                        1,359.23                1,359.23                  0.00
                                                                                                              Less: Bank Transfers/CD's                            0.00                1,334.23
                                                                                                          Subtotal                                             1,359.23                   25.00
                                                                                                              Less: Payments to Debtors                                                    0.00
                                                                                                          Net
                                                                                                                                                               1,359.23                   25.00




                                                                                                                              Page Subtotals                      38.68                 1,359.23
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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                          Exhibit B
  Case No:           11-40208 -JDP                                                                                           Trustee Name:                      R. SAM HOPKINS
  Case Name:         ESTAY, PEDRO SERGIO (DECEASED)                                                                          Bank Name:                         Capital One
                     ESTAY, ANN PARSONS                                                                                      Account Number / CD #:             *******7098 Money Market Account
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 02/18/14                                                                                                Blanket Bond (per case limit):     $ 78,692,000.00
                                                                                                                             Separate Bond (if applicable):


           1              2                               3                                                 4                                            5                        6                 7
    Transaction       Check or                                                                                                      Uniform                                                     Account / CD
       Date           Reference                 Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)
                                                                                   BALANCE FORWARD                                                                                                           0.00


   C      10/12/11                Transfer from Acct #*******6965                  Bank Funds Transfer                             9999-000                   1,334.23                                  1,334.23


   C      10/28/11       14       EXXON MOBILE                                     OIL/GAS PMT                                     1223-000                     15.35                                   1,349.58


   C      10/31/11       INT      Capital One                                      Interest Rate 0.080                             1270-000                        0.03                                 1,349.61


   C      11/01/11       12       EXXON MOBILE CORPORATION                         OIL/GAS PMT                                     1223-000                    200.53                                   1,550.14


   C      11/29/11       12       EXXON MOBIL CORPORATION                          GAS/OIL PMT                                     1223-000                    222.98                                   1,773.12


   C      11/30/11       INT      Capital One                                      Interest Rate 0.080                             1270-000                        0.10                                 1,773.22


   C      12/30/11       INT      Capital One                                      Interest Rate 0.080                             1270-000                        0.12                                 1,773.34


   C      01/03/12       17       CONTINENTAL RESOURCS INC                         ROYALTY INTEREST                                1223-000                     25.19                                   1,798.53


   C      01/06/12       16       ENCORE ENERGY PARTNERS OPERATING LLC             OIL ROYALTIES                                   1223-000                    270.55                                   2,069.08


   C      01/06/12       14       EXXON MOBILE CORPORATION                         GAS/OIL PAYMENT FOR BA #02074501                1223-000                     19.83                                   2,088.91
                                                                                   GAS/OIL PAYMENT


   C      01/06/12       12       EXXON MOBILE CORPORATION                         GAS/OIL PAYMENT FOR BA #02071401                1223-000                    242.52                                   2,331.43


   C      01/24/12       19       EXXON MOBILE                                     ACCTS RECEIVABLE                                1223-000                    140.98                                   2,472.41


   C      01/24/12       20       EXXON MOBIL                                      ACCTS RECEIVABLE                                1223-000                    232.46                                   2,704.87



                                                                                                                             Page Subtotals                   2,704.87                   0.00
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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                          Exhibit B
  Case No:           11-40208 -JDP                                                                                           Trustee Name:                      R. SAM HOPKINS
  Case Name:         ESTAY, PEDRO SERGIO (DECEASED)                                                                          Bank Name:                         Capital One
                     ESTAY, ANN PARSONS                                                                                      Account Number / CD #:             *******7098 Money Market Account
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 02/18/14                                                                                                Blanket Bond (per case limit):     $ 78,692,000.00
                                                                                                                             Separate Bond (if applicable):


           1              2                               3                                                 4                                            5                        6                 7
    Transaction       Check or                                                                                                      Uniform                                                     Account / CD
       Date           Reference                 Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)
   C      01/31/12       16       ENCORE ENERGY PARTNERS OPERATING LLC             A/R                                             1223-000                     66.88                                   2,771.75


   C      01/31/12       12       EXXON MOBILE CORPORATION                         OIL/GAS PMT                                     1223-000                    248.91                                   3,020.66


   C      01/31/12       14       EXXON MOBILE CORPORATION                         OIL/GAS PMT                                     1223-000                     10.61                                   3,031.27


   C      01/31/12       INT      Capital One                                      Interest Rate 0.080                             1270-000                        0.15                                 3,031.42


   C      02/22/12       20       EXXON MOBILE CORPORATION                         GAS/OIL PMT #0J25075802                         1223-000                    560.72                                   3,592.14
                                                                                   GAS/OIL PMT


   C      02/22/12       19       EXXON MOBIL CORPORATION                          GAS/OIL PMT 0J25075803                          1223-000                    137.81                                   3,729.95


   C      02/28/12       14       EXXON MOBILE                                     GAS/OIL PMT BA #02074501                        1223-000                     10.54                                   3,740.49
                                                                                   GAS/OIL PMT


   C      02/28/12       12       EXXON MOBILE                                     GAS/OIL PMT BA #02071401                        1223-000                    252.87                                   3,993.36


   C      02/29/12       INT      Capital One                                      Interest Rate 0.080                             1270-000                        0.20                                 3,993.56


   C      03/02/12       16       ENCORE ENERGY PARTNERS OPERATING LLC             ENCORE ENERGY ROYALTIES                         1223-000                    166.11                                   4,159.67
                                                                                   A/R


   C      03/30/12       INT      Capital One                                      Interest Rate 0.080                             1270-000                        0.28                                 4,159.95


   C      04/03/12       17       CONTINENTAL RESOURCES INC                        OIL/GAS PMT                                     1223-000                     63.76                                   4,223.71


   C      04/03/12       16       ENCORE ENERGY PARTNERS OPERATING LLC             OIL/GAS PMT                                     1223-000                     70.76                                   4,294.47



                                                                                                                             Page Subtotals                   1,589.60                   0.00
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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                          Exhibit B
  Case No:           11-40208 -JDP                                                                                           Trustee Name:                      R. SAM HOPKINS
  Case Name:         ESTAY, PEDRO SERGIO (DECEASED)                                                                          Bank Name:                         Capital One
                     ESTAY, ANN PARSONS                                                                                      Account Number / CD #:             *******7098 Money Market Account
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 02/18/14                                                                                                Blanket Bond (per case limit):     $ 78,692,000.00
                                                                                                                             Separate Bond (if applicable):


           1              2                               3                                                 4                                            5                        6                 7
    Transaction       Check or                                                                                                      Uniform                                                     Account / CD
       Date           Reference                 Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)
   C      04/24/12       19       EXXON MOBIL CORP                                 OIL/GAS ROYALTIES 0J25075803                    1223-000                    271.64                                   4,566.11
                                                                                   A/R


   C      04/24/12       20       EXXON MOBIL CORP                                 OIL/GAS ROYALTIES 0J25075802                    1223-000                   1,036.77                                  5,602.88


   C      04/30/12       INT      Capital One                                      Interest Rate 0.080                             1270-000                        0.29                                 5,603.17


   C      05/01/12       16       ENCORE ENERGY PARTNERS                           OIL/GAS PMT                                     1223-000                     61.80                                   5,664.97


   C      05/01/12       14       EXXON MOBIL                                      OIL/GAS PMT ON 02074501                         1223-000                     18.82                                   5,683.79


   C      05/01/12       12       EXXONMOBIL                                       OIL/GAS PMT ON 02071401                         1223-000                    443.25                                   6,127.04


   C      05/22/12       20       EXXON MOBILE                                     OIL ROYALTIES ON 0J25075802                     1223-000                    547.00                                   6,674.04
                                                                                   A/R


   C      05/22/12       19       EXXON MOBILE                                     OIL ROYALTIES ON 0J25075803                     1223-000                    132.83                                   6,806.87


   C      05/29/12       12       EXXON MOBIL CORPORATION                          OIL/GAS PMT BA #02071401                        1223-000                    200.38                                   7,007.25
                                                                                   OIL/GAS PMT


   C      05/31/12       INT      Capital One                                      Interest Rate 0.080                             1270-000                        0.43                                 7,007.68


   C      06/22/12       20       EXXON MOBILE                                     ACCTS RECEIVABLE                                1223-000                    328.59                                   7,336.27


   C      06/22/12       19       EXXON MOBILE                                     ACCTS RECEIVABLE                                1223-000                     79.85                                   7,416.12


   C      06/29/12       12       EXXON MOBILE                                     A/R                                             1223-000                    220.91                                   7,637.03



                                                                                                                             Page Subtotals                   3,342.56                   0.00
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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                          Exhibit B
  Case No:           11-40208 -JDP                                                                                           Trustee Name:                      R. SAM HOPKINS
  Case Name:         ESTAY, PEDRO SERGIO (DECEASED)                                                                          Bank Name:                         Capital One
                     ESTAY, ANN PARSONS                                                                                      Account Number / CD #:             *******7098 Money Market Account
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 02/18/14                                                                                                Blanket Bond (per case limit):     $ 78,692,000.00
                                                                                                                             Separate Bond (if applicable):


           1              2                                3                                                4                                            5                        6                 7
    Transaction       Check or                                                                                                      Uniform                                                     Account / CD
       Date           Reference                 Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)
   C      06/29/12       14       EXXON MOBILE                                     A/R                                             1223-000                     17.52                                   7,654.55


   C      06/29/12       INT      Capital One                                      Interest Rate 0.080                             1270-000                        0.46                                 7,655.01


   C      07/03/12       16       Encore Energy Partners                           Royalty                                         1223-000                     81.43                                   7,736.44


   C      07/24/12       19       EXXON MOBIL                                      A/R                                             1223-000                    113.39                                   7,849.83


   C      07/24/12       20       EXXON MOBIL                                      A/R                                             1223-000                    504.12                                   8,353.95


   C      07/31/12       INT      Capital One                                      Interest Rate 0.080                             1270-000                        0.53                                 8,354.48


   C      08/03/12       12       EXXON MOBILE                                     A/R                                             1223-000                    194.33                                   8,548.81


   C      08/21/12       20       EXXON MOBIL                                      GAS/OIL PMT                                     1223-000                    328.50                                   8,877.31


   C      08/21/12       19       EXXON MOBIL                                      GAS/OIL PMT                                     1223-000                     65.87                                   8,943.18


   C      08/28/12       12       EXXON MOBIL                                      A/R                                             1223-000                    185.38                                   9,128.56


   C      08/28/12       14       EXXON MOBIL                                      A/R                                             1223-000                     15.76                                   9,144.32


   C      08/31/12       INT      Capital One                                      Interest Rate 0.080                             1270-000                        0.59                                 9,144.91


   C      09/07/12       16       ENCORE ENERY PARTNERS                            A/R                                             1223-000                     98.85                                   9,243.76


   C      09/26/12       19       EXXON MOBIL                                      A/R                                             1223-000                     86.82                                   9,330.58




                                                                                                                             Page Subtotals                   1,693.55                   0.00
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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                          Exhibit B
  Case No:           11-40208 -JDP                                                                                           Trustee Name:                      R. SAM HOPKINS
  Case Name:         ESTAY, PEDRO SERGIO (DECEASED)                                                                          Bank Name:                         Capital One
                     ESTAY, ANN PARSONS                                                                                      Account Number / CD #:             *******7098 Money Market Account
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 02/18/14                                                                                                Blanket Bond (per case limit):     $ 78,692,000.00
                                                                                                                             Separate Bond (if applicable):


           1              2                               3                                                 4                                            5                        6                 7
    Transaction       Check or                                                                                                      Uniform                                                     Account / CD
       Date           Reference                 Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)
   C      09/26/12       20       EXXON MOBIL                                      A/R                                             1223-000                    397.22                                    9,727.80


   C      09/28/12       INT      Capital One                                      Interest Rate 0.080                             1270-000                        0.61                                  9,728.41


   C      10/02/12       16       ENCORE ENERGY PARTNERS                           A/R                                             1223-000                     55.45                                    9,783.86


   C      10/02/12       12       EXXON MOBILE                                     A/R                                             1223-000                    200.90                                    9,984.76


   C      10/23/12       19       EXXON MOBIL                                      A/R                                             1223-000                     90.39                                   10,075.15


   C      10/23/12       20       EXXON MOBIL                                      A/R                                             1223-000                    347.04                                   10,422.19


   C      10/30/12       14       EXXON MOBIL                                      A/R                                             1223-000                     17.47                                   10,439.66


   C      10/30/12       12       EXXON MOBIL                                      A/R                                             1223-000                    220.29                                   10,659.95


   C      10/30/12       16       ENCORE ENERGY                                    A/R                                             1223-000                    325.26                                   10,985.21


   C      10/30/12       16       ENCORE ENERGY                                    A/R                                             1223-000                     64.81                                   11,050.02


   C      10/31/12       INT      Capital One                                      Interest Rate 0.080                             1270-000                        0.68                                 11,050.70


   C      11/27/12       20       EXXON MOBIL                                      A/R                                             1223-000                    424.77                                   11,475.47


   C      11/27/12       19       EXXON MOBIL                                      A/R                                             1223-000                     66.81                                   11,542.28


   C      11/27/12       12       EXXON MOBIL                                      A/R                                             1223-000                    227.27                                   11,769.55




                                                                                                                             Page Subtotals                   2,438.97                   0.00
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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                          Exhibit B
  Case No:           11-40208 -JDP                                                                                           Trustee Name:                    R. SAM HOPKINS
  Case Name:         ESTAY, PEDRO SERGIO (DECEASED)                                                                          Bank Name:                       Capital One
                     ESTAY, ANN PARSONS                                                                                      Account Number / CD #:           *******7098 Money Market Account
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 02/18/14                                                                                                Blanket Bond (per case limit):   $ 78,692,000.00
                                                                                                                             Separate Bond (if applicable):


           1              2                               3                                                 4                                            5                       6                  7
    Transaction       Check or                                                                                                      Uniform                                                     Account / CD
       Date           Reference                 Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)
   C      11/30/12       16       ENCORE ENERGY                                    A/R                                             1223-000                   354.16                                    12,123.71


   C      11/30/12       INT      Capital One                                      Interest Rate 0.080                             1270-000                        0.72                                 12,124.43


   C      12/04/12       16       ENCORE ENERGY                                    A/R                                             1223-000                    68.23                                    12,192.66


   C      12/28/12       14       EXXON MOBIL                                      A/R                                             1223-000                    18.19                                    12,210.85


   C      12/28/12       12       EXXON MOBIL                                      A/R                                             1223-000                   209.78                                    12,420.63


   C      12/28/12       20       EXXON MOBIL                                      A/R                                             1223-000                   427.93                                    12,848.56


   C      12/28/12       19       EXXON MOBIL                                      A/R                                             1223-000                    73.65                                    12,922.21


   C      12/28/12       23       DAKIL AUCTIONEERS INC                            AUCTION PROCEEDS                                1229-000               74,360.00                                     87,282.21


   C      12/31/12       INT      Capital One                                      Interest Rate 0.080                             1270-000                        0.82                                 87,283.03


   C      01/02/13       16       ENCORE ENERGY                                    A/R                                             1223-000                    56.54                                    87,339.57


   C      01/02/13       12       ENCORE ENERGY                                    A/R                                             1223-000                   315.96                                    87,655.53


   C      01/22/13       20       Exxon Mobil                                      royalty                                         1223-000                   478.54                                    88,134.07


   C      01/22/13       19       Exxon Mobil                                      royalty                                         1223-000                    74.28                                    88,208.35


   C      01/31/13       INT      Capital One                                      Interest Rate 0.080                             1270-000                        5.80                                 88,214.15




                                                                                                                             Page Subtotals               76,444.60                      0.00
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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                              Exhibit B
  Case No:           11-40208 -JDP                                                                                              Trustee Name:                    R. SAM HOPKINS
  Case Name:         ESTAY, PEDRO SERGIO (DECEASED)                                                                             Bank Name:                       Capital One
                     ESTAY, ANN PARSONS                                                                                         Account Number / CD #:           *******7098 Money Market Account
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 02/18/14                                                                                                   Blanket Bond (per case limit):   $ 78,692,000.00
                                                                                                                                Separate Bond (if applicable):


           1              2                               3                                                 4                                               5                       6                   7
    Transaction       Check or                                                                                                         Uniform                                                      Account / CD
       Date           Reference                 Paid To / Received From                         Description Of Transaction            Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
   C      02/01/13       12       EXXON MOBIL                                      A/R                                                1223-000                   172.05                                     88,386.20


   C      02/01/13       16       ENCORE ENERGY PARTNERS                           A/R                                                1223-000                   252.80                                     88,639.00


   C      02/06/13       INT      Capital One                                      Interest Rate 0.080                                1270-000                        0.97                                  88,639.97


   C      02/08/13                Trsf To BANK OF NEW YORK MELLON                  FINAL TRANSFER                                     9999-000                                       88,639.97                    0.00



                                                                                                            COLUMN TOTALS                                    88,639.97               88,639.97                     0.00
                                                                                                                Less: Bank Transfers/CD's                     1,334.23               88,639.97
                                                                                                            Subtotal                                         87,305.74                      0.00
                                                                                                                Less: Payments to Debtors                                                   0.00
                                                                                                            Net
                                                                                                                                                             87,305.74                      0.00




                                                                                                                                Page Subtotals                   425.82                 88,639.97
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                            Exhibit B
  Case No:           11-40208 -JDP                                                                                            Trustee Name:                    R. SAM HOPKINS
  Case Name:         ESTAY, PEDRO SERGIO (DECEASED)                                                                           Bank Name:                       BANK OF NEW YORK MELLON
                     ESTAY, ANN PARSONS                                                                                       Account Number / CD #:           *******1033 Checking Account
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 02/18/14                                                                                                 Blanket Bond (per case limit):   $ 78,692,000.00
                                                                                                                              Separate Bond (if applicable):


           1              2                                3                                                 4                                            5                      6                   7
    Transaction       Check or                                                                                                       Uniform                                                     Account / CD
       Date           Reference                Paid To / Received From                           Description Of Transaction         Tran. Code       Deposits ($)       Disbursements ($)         Balance ($)
                                                                                  BALANCE FORWARD                                                                                                              0.00


   C      02/08/13                Trsf In From Capital One                        INITIAL WIRE TRANSFER IN                          9999-000               88,639.97                                     88,639.97


   C      02/26/13       20       EXXON MOBIL                                     A/R                                               1223-000                   269.98                                    88,909.95


   C      02/26/13       19       EXXON MOBIL                                     A/R                                               1223-000                    93.17                                    89,003.12


   C      02/26/13     100001     DAKIL AUCTIONEERS INC.                          FEES/EXP PER ORDER 2/15/13                                                                         9,508.49            79,494.63
                                  200 N.W. 114TH ST.
                                  OKLAHOMA CITY, OK 73114
                                                                                          Fees                   7,436.00           3610-000
                                                                                          Expenses               2,072.49           3620-000


   C      03/01/13       16       ENCORE ENERGY                                   A/R                                               1223-000                    85.69                                    79,580.32


   C      03/01/13       14       EXXON MOBIL                                     A/R                                               1223-000                    14.50                                    79,594.82


   C      03/07/13                BANK OF NEW YORK MELLON                         BANK SERVICE FEE                                  2600-000                                           89.26             79,505.56


   C      03/22/13       20       EXXON MOBIL                                     A/R                                               1223-000                   291.32                                    79,796.88


   C      03/22/13       19       EXXON MOBIL                                     A/R                                               1223-000                    78.09                                    79,874.97


   C      04/02/13       16       Encore Energy Partners                          royalty for 2/13                                  1223-000                    97.27                                    79,972.24


   C      04/05/13                BANK OF NEW YORK MELLON                         BANK SERVICE FEE                                  2600-000                                          119.65             79,852.59


   C      04/16/13       21       ENDURO OPERATING LLC                            A/R                                               1223-000                    54.87                                    79,907.46

                                                                                                                              Page Subtotals               89,624.86                  9,717.40
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                          Exhibit B
  Case No:           11-40208 -JDP                                                                                          Trustee Name:                    R. SAM HOPKINS
  Case Name:         ESTAY, PEDRO SERGIO (DECEASED)                                                                         Bank Name:                       BANK OF NEW YORK MELLON
                     ESTAY, ANN PARSONS                                                                                     Account Number / CD #:           *******1033 Checking Account
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 02/18/14                                                                                               Blanket Bond (per case limit):   $ 78,692,000.00
                                                                                                                            Separate Bond (if applicable):


           1              2                              3                                                 4                                            5                      6                   7
    Transaction       Check or                                                                                                     Uniform                                                     Account / CD
       Date           Reference                Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)       Disbursements ($)         Balance ($)


   C      04/30/13       16       ENCORE ENERGY PARTNERS                          ROYALTIES                                       1223-000                    91.48                                    79,998.94


   C      04/30/13       16       ENCORE ENERGY PARTNERS                          ROYALTIES                                       1223-000                   219.68                                    80,218.62


   C      05/07/13     100002     SERVICE & SPINNER                               FEES/EXP PER ORDER 4/29/13                                                                       2,819.20            77,399.42
                                  POB 6009
                                  Pocatello, ID 83205-6009
                                                                                        Fees                   2,728.00           3210-000
                                                                                        Expenses                91.20             3220-000


   C      05/07/13                BANK OF NEW YORK MELLON                         BANK SERVICE FEE                                2600-000                                           114.90            77,284.52


   C      06/04/13       16       ENCORE ENERGY PARTNERS                          A/R                                             1223-000                   124.14                                    77,408.66


   C      07/09/13       16       ENCORE ENERGY PARTNERS                          ROYALTIES                                       1223-000                   139.88                                    77,548.54


 *C       07/09/13     100003     Idaho State Tax Commission                      FIDUCIARY TAX DUE XX-XXXXXXX                    2820-003                                         1,439.00            76,109.54
                                  P.O. Box 56                                     FOR 2012
                                  Boise, ID 83756-0056


 *C       07/12/13     100003     Idaho State Tax Commission                      FIDUCIARY TAX DUE XX-XXXXXXX                    2820-003                                         -1,439.00           77,548.54
                                  P.O. Box 56                                     VOIDED AND REISSUED IN TWO SEPARATE
                                  Boise, ID 83756-0056                            CHECKS


   C      07/12/13     100004     Idaho State Tax Commission                      FIDUCIARY TAX DUE XX-XXXXXXX                    2820-000                                         1,439.00            76,109.54
                                  P.O. Box 56
                                  Boise, ID 83756-0056



                                                                                                                            Page Subtotals                   575.18                 4,373.10
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                            Exhibit B
  Case No:           11-40208 -JDP                                                                                           Trustee Name:                    R. SAM HOPKINS
  Case Name:         ESTAY, PEDRO SERGIO (DECEASED)                                                                          Bank Name:                       BANK OF NEW YORK MELLON
                     ESTAY, ANN PARSONS                                                                                      Account Number / CD #:           *******1033 Checking Account
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 02/18/14                                                                                                Blanket Bond (per case limit):   $ 78,692,000.00
                                                                                                                             Separate Bond (if applicable):


           1              2                              3                                                  4                                            5                       6                   7
    Transaction       Check or                                                                                                      Uniform                                                      Account / CD
       Date           Reference                Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
   C      07/12/13     100005     Idaho State Tax Commission                      FICUCIARY TAX DUE XX-XXXXXXX                     2820-000                                          1,439.00            74,670.54
                                  P.O. Box 56
                                  Boise, ID 83756-0056


   C      08/23/13     100006     IDAHO STATE TAX COMMISSION                      STMT #L0408283200                                2820-000                                            59.56             74,610.98
                                  POB 36                                          PENALTIES ON TAX RETURN
                                  BOISE ID 83722-0410


   C      08/23/13     100007     IDAHO STATE TAX COMMISSION                      STMT #L1017911360                                2820-000                                            59.56             74,551.42
                                  POB 36                                          PENALTIES ON TAX RETURN
                                  BOISE ID 83722-0410


   C      10/08/13     100008     R. SAM HOPKINS                                  Chapter 7 Compensation/Fees                      2100-000                                          6,900.00            67,651.42
                                  P.O. BOX 3014
                                  208-478-7978
                                  POCATELLO, ID 83206-3014


   C      10/08/13     100009     JORDAN & COMPANY                                Accountant for Trustee Expenses (Ot                                                                 708.55             66,942.87
                                  109 N ARTHUR 4TH FLOOR
                                  POCATELLO, ID 83204
                                                                                         Fees                   646.00             3410-000
                                                                                         Expenses               62.55              3420-000


   C      10/08/13     100010     R. SAM HOPKINS                                  Trustee Expenses                                 2200-000                                           545.33             66,397.54
                                  P.O. BOX 3014
                                  POCATELLO, ID 83206-3014


   C      10/08/13     100011     INTERNAL REVENUE SERVICE                        Claim 000022, Payment 100.0%                     5800-000                                          1,589.00            64,808.54
                                  POB 7317


                                                                                                                             Page Subtotals                        0.00              11,301.00
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                          Exhibit B
  Case No:           11-40208 -JDP                                                                                         Trustee Name:                    R. SAM HOPKINS
  Case Name:         ESTAY, PEDRO SERGIO (DECEASED)                                                                        Bank Name:                       BANK OF NEW YORK MELLON
                     ESTAY, ANN PARSONS                                                                                    Account Number / CD #:           *******1033 Checking Account
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 02/18/14                                                                                              Blanket Bond (per case limit):   $ 78,692,000.00
                                                                                                                           Separate Bond (if applicable):


           1              2                                3                                              4                                            5                       6                   7
    Transaction       Check or                                                                                                    Uniform                                                      Account / CD
       Date           Reference                Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                  PHILADELPHIA PA 19101-7317


   C      10/08/13     100012     BMW Financial Services                          Claim 000001U, Payment 24.2%                   7100-000                                          3,777.00            61,031.54
                                  c/o Sheila R. Schwager
                                  Hawley Troxell Ennis & Hawley, LLP
                                  P.O. Box 1617
                                  Boise, ID 83701-1617


   C      10/08/13     100013     MD Nursery & Landscaping Inc                    Claim 000002, Payment 24.2%                    7100-000                                           506.69             60,524.85
                                  2389 South HWY 33                               5195
                                  Driggs, ID 83422


   C      10/08/13     100014     Flying Saddle Storage                           Claim 000003, Payment 24.2%                    7100-000                                           547.55             59,977.30
                                  PO Box 521                                      311
                                  Driggs, ID 83422


   C      10/08/13     100015     Thomsen Stephens Law Offices, PLLC              Claim 000004, Payment 24.2%                    7100-000                                          7,507.82            52,469.48
                                  2635 Channing Way                               4995
                                  Idaho Falls, ID 83404


   C      10/08/13     100016     Cox, Ohman Brandsetter                          Claim 000006, Payment 24.2%                    7100-000                                           547.80             51,921.68
                                  C/O AMY KINGSTON
                                  PO Box 51600
                                  Idaho Falls, ID 83405


   C      10/08/13     100017     Action Collection Service                       Claim 000007, Payment 24.2%                    7100-000                                           881.48             51,040.20
                                  P.O. Box 5425                                   4817
                                  Boise, ID 83705




                                                                                                                           Page Subtotals                        0.00              13,768.34
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                          Exhibit B
  Case No:           11-40208 -JDP                                                                                         Trustee Name:                    R. SAM HOPKINS
  Case Name:         ESTAY, PEDRO SERGIO (DECEASED)                                                                        Bank Name:                       BANK OF NEW YORK MELLON
                     ESTAY, ANN PARSONS                                                                                    Account Number / CD #:           *******1033 Checking Account
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 02/18/14                                                                                              Blanket Bond (per case limit):   $ 78,692,000.00
                                                                                                                           Separate Bond (if applicable):


           1              2                               3                                               4                                            5                       6                   7
    Transaction       Check or                                                                                                    Uniform                                                      Account / CD
       Date           Reference                Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
   C      10/08/13     100018     Asset Acceptance LLC                            Claim 000008, Payment 24.2%                    7100-000                                          3,168.27            47,871.93
                                  PO Box 2036                                     9180
                                  Warren, MI 48090-2036


   C      10/08/13     100019     Asset Acceptance LLC                            Claim 000009, Payment 24.2%                    7100-000                                       17,981.26              29,890.67
                                  PO Box 2036                                     9314
                                  Warren, MI 48090-2036


   C      10/08/13     100020     American Express Centurion Bank                 Claim 000010, Payment 24.2%                    7100-000                                          2,963.90            26,926.77
                                  c o Becket and Lee LLP                          5008
                                  POB 3001
                                  Malvern, PA 19355-0701


   C      10/08/13     100021     American Express Centurion Bank                 Claim 000011, Payment 24.2%                    7100-000                                           212.78             26,713.99
                                  c o Becket and Lee LLP                          1002
                                  POB 3001
                                  Malvern, PA 19355-0701


   C      10/08/13     100022     American Express Centurion Bank                 Claim 000012, Payment 24.2%                    7100-000                                           533.19             26,180.80
                                  c o Becket and Lee LLP                          1004
                                  POB 3001
                                  Malvern, PA 19355-0701


   C      10/08/13     100023     FIA CARD SERVICES, N.A.                         Claim 000013, Payment 24.2%                    7100-000                                          3,283.91            22,896.89
                                  PO Box 15102                                    7150, 2201
                                  Wilmington, DE 19886-5102


   C      10/08/13     100024     RECOSER LLC AS AGENT FOR                        Claim 000014, Payment 24.2%                    7100-000                                          4,423.34            18,473.55
                                  MIDLAND FUNDING LLC                             6942


                                                                                                                           Page Subtotals                        0.00              32,566.65
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                          Exhibit B
  Case No:           11-40208 -JDP                                                                                         Trustee Name:                    R. SAM HOPKINS
  Case Name:         ESTAY, PEDRO SERGIO (DECEASED)                                                                        Bank Name:                       BANK OF NEW YORK MELLON
                     ESTAY, ANN PARSONS                                                                                    Account Number / CD #:           *******1033 Checking Account
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 02/18/14                                                                                              Blanket Bond (per case limit):   $ 78,692,000.00
                                                                                                                           Separate Bond (if applicable):


           1              2                              3                                                4                                            5                       6                   7
    Transaction       Check or                                                                                                    Uniform                                                      Account / CD
       Date           Reference                Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                  25 SE 2nd Avenue Suite 1120
                                  Miami FL 33131-1605


   C      10/08/13     100025     American Express Centurion Bank                 Claim 000015, Payment 24.2%                    7100-000                                          3,009.97            15,463.58
                                  c o Becket and Lee LLP                          4003
                                  POB 3001
                                  Malvern, PA 19355-0701


   C      10/08/13     100026     American Express Centurion Bank                 Claim 000016, Payment 24.2%                    7100-000                                           430.56             15,033.02
                                  c o Becket and Lee LLP                          1004
                                  POB 3001
                                  Malvern, PA 19355-0701


   C      10/08/13     100027     OUTSOURCE RECEIVABLES MANAGEMENT                Claim 000017, Payment 24.2%                    7100-000                                           332.79             14,700.23
                                  PO BOX 3069                                     7131, 7579, 7327
                                  IDAHO FALLS, ID 83403


   C      10/08/13     100028     US Bank N.A.                                    Claim 000018, Payment 24.2%                    7100-000                                          4,462.32            10,237.91
                                  BK DEPT                                         6225
                                  PO BOX 5229
                                  Cincinnati, OH 45201-5229


   C      10/08/13     100029     Discover Bank                                   Claim 000019, Payment 24.2%                    7100-000                                          3,311.46             6,926.45
                                  DB Servicing Corporation                        1590
                                  PO Box 3025
                                  New Albany OH 43054-3025


   C      10/08/13     100030     Discover Bank                                   Claim 000020, Payment 24.2%                    7100-000                                          1,926.45             5,000.00
                                  DB Servicing Corporation                        0831


                                                                                                                           Page Subtotals                        0.00              13,473.55
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                   Exhibit B
  Case No:           11-40208 -JDP                                                                                        Trustee Name:                       R. SAM HOPKINS
  Case Name:         ESTAY, PEDRO SERGIO (DECEASED)                                                                       Bank Name:                          BANK OF NEW YORK MELLON
                     ESTAY, ANN PARSONS                                                                                   Account Number / CD #:              *******1033 Checking Account
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 02/18/14                                                                                             Blanket Bond (per case limit):      $ 78,692,000.00
                                                                                                                          Separate Bond (if applicable):


          1               2                              3                                            4                                                 5                          6                         7
    Transaction       Check or                                                                                                   Uniform                                                               Account / CD
       Date           Reference                Paid To / Received From                    Description Of Transaction            Tran. Code       Deposits ($)            Disbursements ($)              Balance ($)
                                  PO Box 3025
                                  New Albany OH 43054-3025



                                                                                                      COLUMN TOTALS                                      90,200.04                  85,200.04                     5,000.00
                                                                                                          Less: Bank Transfers/CD's                      88,639.97                       0.00
                                                                                                      Subtotal                                              1,560.07           85,200.04
                                                                                                          Less: Payments to Debtors                                                 0.00
                                                                                                      Net
                                                                                                                                                            1,560.07           85,200.04
                                                                                                                                                                              NET                             ACCOUNT
                                                                                                     TOTAL - ALL ACCOUNTS                       NET DEPOSITS             DISBURSEMENTS                        BALANCE
                                                                                                 Money Market Account - ********6965                       1,359.23                        25.00                        0.00
                                                                                                 Money Market Account - ********7098                      87,305.74                          0.00                       0.00
                                                                                                     Checking Account - ********1033                       1,560.07                   85,200.04                   5,000.00
                                                                                                                                              ------------------------    ------------------------   ------------------------
                                                                                                                                                          90,225.04                   85,225.04                   5,000.00
                                                                                                                                              ==============             ==============              ==============
                                                                                                                                               (Excludes Account         (Excludes Payments                   Total Funds
                                                                                                                                                          Transfers)               To Debtors)                    On Hand




                                                                                                                          Page Subtotals                        0.00                        0.00
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                                                                        EXHIBIT C
 Page 1                                                                                                                                       Date: February 18, 2014
                                                               ANALYSIS OF CLAIMS REGISTER

 Case Number: 11-40208                                                Claim Number Sequence
 Debtor Name: ESTAY, PEDRO SERGIO (DECEASED)                                                      Joint Debtor: ESTAY, ANN PARSONS
 Claims Bar Date: 03/02/12

Code #              Creditor Name & Address          Claim Class       Notes                            Amount Allowed             Paid to Date         Claim Balance

               SERVICE & SPINNER                     Administrative                                              $2,819.20              $2,819.20                $0.00
001            POB 6009                                INTERIM FEES/EXP
3210-00        Pocatello, ID 83205-6009                April 02, 2013 dkt84 Application for Interim Professional Comp for JAS, Fee: $2,728.00,
                                                       Expenses: $91.20. Obj due 04/25/13
                                                       4/2/13 dkt85 Notice of First Interim Application for Compensation
                                                       April 30, 2013 dkt94 Order Granting Application for Interim Professional Compensation (Related
                                                       Doc # 84)for James A Spinner, fees awarded: $2728.00, expenses awarded: $91.20 Signed on
                                                       4/28/2013.


                                                                                 92000300011033      05/07/13   100002                  2,819.20

               DAKIL AUCTIONEERS INC.                Administrative                                           $9,508.49               $9,508.49                  $0.00
001            200 N.W. 114TH ST.                      12/05/12 AUCTION
3610-00        OKLAHOMA CITY, OK 73114                 COMMISSION $7,436 AND EXPENSES $2,072.49
                                                       December 28, 2012 DKT65 *** NOH 02/12/13 at 9am *** App for Comp for Dakil Auctions
                                                       February 15, 2013 dkt75 Order Granting App for Comp for Dakil Auctions., fees awarded:
                                                       $7436.00, expenses awarded: $2072.49 Signed on 2/15/2013


                                                                                 92000300011033      02/26/13   100001                  9,508.49

               JORDAN & COMPANY                      Administrative                                            $708.55               $708.55                     $0.00
001            109 N ARTHUR 4TH FLOOR                  July 05, 2013 DKT109 Application for Compensation for Robert D Long , Accountant, Fee:
3420-00        POCATELLO, ID 83204                     $646.00, Expenses: $62.55.


                                                                                 92000300011033      10/08/13   100009                    708.55

               R. SAM HOPKINS                        Administrative                                              $545.33                $545.33                  $0.00
001            P.O. BOX 3014                           INTERIM DISBURSEMENT
2200-00        POCATELLO, ID 83206-3014
                                                                                 92000300011033      10/08/13   100010                    545.33

               SERVICE & SPINNER                     Administrative                                          $1,463.69                 $0.00                 $1,463.69
001            POB 6009                                FINAL FEES/EXP
3210-00        Pocatello, ID 83205-6009                January 24, 2014 DKT126 App for Comp for JAS, Fee: $1,104.00, Expenses: $359.69. Objs due
                                                       by 02/18/2014.
                                                       January 24, 2014 DKT127 NOTICE App for Comp for JAS, Fee: $1,104.00, Expenses: $359.69.
                                                       Objs due by 02/18/2014.


000001S        BMW Financial Services                Secured             Filed 06/03/11                  $0.00               $0.00                               $0.00
999            c/o Sheila R. Schwager                  SCH D $19,072
4110-00        Hawley Troxell Ennis & Hawley, LLP      SEC IN 05 MINI COOPER AND RP
               P.O. Box 1617                           RFS FILED BY BMW FINANCIAL SERVICES ON 05 MINI COOPER (DKT #16). ORDER
               Boise, ID 83701-1617
                                                       DKT #19 ON 4/12/11
                                                       3/6/13 dkt78 OTC -- PROVE DEFICIENCY (LOOK ALL SEC IN 05 MINI COOPER. S/B ALL
                                                       SEC? OR AMEND SINCE HAS RFS TO SHOW NOTICE OF SALE, ETC)
                                                       3/29/13 APOC - OK
                                                       4/18/13 DKT91 WD OTC




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 Page 2                                                                                                                                  Date: February 18, 2014
                                                              ANALYSIS OF CLAIMS REGISTER

 Case Number: 11-40208                                               Claim Number Sequence
 Debtor Name: ESTAY, PEDRO SERGIO (DECEASED)                                                 Joint Debtor: ESTAY, ANN PARSONS
 Claims Bar Date: 03/02/12

Code #              Creditor Name & Address          Claim Class     Notes                         Amount Allowed             Paid to Date       Claim Balance

000001U        BMW Financial Services                Unsecured           Filed 06/03/11          $15,589.40         $3,777.00                         $11,812.40
070            c/o Sheila R. Schwager                  SCH D $19,072
7100-00        Hawley Troxell Ennis & Hawley, LLP      SEC IN 05 MINI COOPER AND RP
               P.O. Box 1617                           RFS FILED BY BMW FINANCIAL SERVICES ON 05 MINI COOPER (DKT #16). ORDER
               Boise, ID 83701-1617
                                                       DKT #19 ON 4/12/11
                                                       3/6/13 dkt78 OTC -- PROVE DEFICIENCY
                                                       3/29/13 DKT81 Response by C
                                                       3/29/13 APOC - OK
                                                       4/18/13 DKT91 WD OTC
                                                                               92000300011033    10/08/13    100012                3,777.00
000002         MD Nursery & Landscaping Inc          Unsecured        Filed 12/08/11                         $2,091.33             $506.69             $1,584.64
070            2389 South HWY 33                       5195
7100-00        Driggs, ID 83422                        SCH F $2792.88
                                                       NO DOCS - NPIO


                                                                               92000300011033    10/08/13    100013                 506.69
000003         Flying Saddle Storage                 Unsecured          Filed 12/09/11                       $2,260.00             $547.55             $1,712.45
070            PO Box 521                              311
7100-00        Driggs, ID 83422                        SCH F $2500 - OK


                                                                               92000300011033    10/08/13    100014                 547.55
000004         Thomsen Stephens Law Offices, PLLC Unsecured          Filed 12/12/11                         $30,988.21           $7,507.82            $23,480.39
070            2635 Channing Way                    4995
7100-00        Idaho Falls, ID 83404                SCH F $30988.21 - OK


                                                                               92000300011033    10/08/13    100015                7,507.82
000005         Matkin Brothers Excavation, Inc.      Unsecured           Filed 12/12/11                           $0.00            $0.00                   $0.00
070            PO Box 187                              SCH F $3836.31
7100-00        Victor, ID 83455                        3/6/13 dkt79 OTC - DUPLICATE OF POC 7 FILED BY ACTION COLLECTION (AC HAS
                                                       ASSIGNMENT ATTACHED)
                                                       4/11/13 dkt88 Req ODC
                                                       04/12/2013 DKT89 Order Granting Objection to Claim - Creditor: MATKIN BROTHERS
                                                       EXCAVATION INC Claim Number: 5


000006         Cox, Ohman Brandsetter                Unsecured          Filed 12/19/11                       $2,261.01             $547.80             $1,713.21
070            C/O AMY KINGSTON                        SCH F $2133.01 - NPIO
7100-00        PO Box 51600
               Idaho Falls, ID 83405
                                                                               92000300011033    10/08/13    100016                 547.80
000007         Action Collection Service             Unsecured          Filed 12/19/11                       $3,638.31             $881.48             $2,756.83
070            P.O. Box 5425                           4817
7100-00        Boise, ID 83705                         SCH F $3836.31 - OK


                                                                               92000300011033    10/08/13    100017                 881.48




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 Page 3                                                                                                                                 Date: February 18, 2014
                                                              ANALYSIS OF CLAIMS REGISTER

 Case Number: 11-40208                                               Claim Number Sequence
 Debtor Name: ESTAY, PEDRO SERGIO (DECEASED)                                                 Joint Debtor: ESTAY, ANN PARSONS
 Claims Bar Date: 03/02/12

Code #              Creditor Name & Address          Claim Class     Notes                        Amount Allowed             Paid to Date       Claim Balance

000008         Asset Acceptance LLC                  Unsecured          Filed 12/23/11                     $13,076.92           $3,168.27             $9,908.65
070            PO Box 2036                             9180
7100-00        Warren, MI 48090-2036                   SCH F $21065.85 - OK


                                                                               92000300011033   10/08/13    100018                3,168.27
000009         Asset Acceptance LLC                  Unsecured          Filed 12/23/11                     $74,216.92          $17,981.26            $56,235.66
070            PO Box 2036                             9314
7100-00        Warren, MI 48090-2036                   SCH F $75,058.97 - OK


                                                                               92000300011033   10/08/13    100019              17,981.26
000010         American Express Centurion Bank       Unsecured          Filed 01/03/12                     $12,233.39           $2,963.90             $9,269.49
070            c o Becket and Lee LLP                  5008
7100-00        POB 3001                                SCH F $14,278.66 - OK
               Malvern, PA 19355-0701

                                                                               92000300011033   10/08/13    100020                2,963.90
000011         American Express Centurion Bank       Unsecured          Filed 01/03/12                       $878.25              $212.78              $665.47
070            c o Becket and Lee LLP                  1002
7100-00        POB 3001                                SCH F $878.25 - OK
               Malvern, PA 19355-0701

                                                                               92000300011033   10/08/13    100021                 212.78
000012         American Express Centurion Bank       Unsecured          Filed 01/04/12                      $2,200.71             $533.19             $1,667.52
070            c o Becket and Lee LLP                  1004
7100-00        POB 3001                                SCH F $2200 - OK
               Malvern, PA 19355-0701

                                                                               92000300011033   10/08/13    100022                 533.19
000013         FIA CARD SERVICES, N.A.               Unsecured          Filed 01/11/12                     $13,554.18           $3,283.91            $10,270.27
070            PO Box 15102                            7150, 2201
7100-00        Wilmington, DE 19886-5102               SCH F $26,812.98 - OK


                                                                               92000300011033   10/08/13    100023                3,283.91
000014         RECOSER LLC AS AGENT FOR              Unsecured           Filed 01/23/12             $18,257.16                  $4,423.34            $13,833.82
070            MIDLAND FUNDING LLC                     6942
7100-00        25 SE 2nd Avenue Suite 1120             SCH F $16,836.94
               Miami FL 33131-1605                     1/17/13 DKT72 TRANS/ASSIGN
                                                       3/6/13 dkt80 OTC - DOCS SHOW AMT OWED IS $3809.44
                                                       4/5/13 APOC - OK
                                                       4/18/13 DKT92 WD OTC


                                                                               92000300011033   10/08/13    100024                4,423.34
000015         American Express Centurion Bank       Unsecured          Filed 01/24/12                     $12,423.52           $3,009.97             $9,413.55
070            c o Becket and Lee LLP                  4003
7100-00        POB 3001                                SCH F $16927.25 - OK
               Malvern, PA 19355-0701

                                                                               92000300011033   10/08/13    100025                3,009.97




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                                                                       EXHIBIT C
 Page 4                                                                                                                                 Date: February 18, 2014
                                                              ANALYSIS OF CLAIMS REGISTER

 Case Number: 11-40208                                               Claim Number Sequence
 Debtor Name: ESTAY, PEDRO SERGIO (DECEASED)                                                 Joint Debtor: ESTAY, ANN PARSONS
 Claims Bar Date: 03/02/12

Code #              Creditor Name & Address          Claim Class     Notes                        Amount Allowed             Paid to Date       Claim Balance

000016         American Express Centurion Bank       Unsecured          Filed 01/25/12                      $1,777.13             $430.56              $1,346.57
070            c o Becket and Lee LLP                  1004
7100-00        POB 3001                                SCH F $2200 - NPIO
               Malvern, PA 19355-0701

                                                                               92000300011033   10/08/13    100026                 430.56
000017         OUTSOURCE RECEIVABLES                 Unsecured          Filed 01/27/12                      $1,373.59             $332.79              $1,040.80
070            MANAGEMENT                              7131, 7579, 7327
7100-00        PO BOX 3069                             SCH F $557.11 - DOCS LOOK OK. OK
               IDAHO FALLS, ID 83403                   3/5/12 APOC


                                                                               92000300011033   10/08/13    100027                 332.79
000018         US Bank N.A.                          Unsecured          Filed 02/27/12                     $18,418.06           $4,462.32             $13,955.74
070            BK DEPT                                 6225
7100-00        PO BOX 5229                             SCH F $18,418.06 - OK
               Cincinnati, OH 45201-5229

                                                                               92000300011033   10/08/13    100028                4,462.32
000019         Discover Bank                         Unsecured          Filed 03/02/12                     $13,667.91           $3,311.46             $10,356.45
070            DB Servicing Corporation                1590
7100-00        PO Box 3025                             SCH F $21,599.42 - OK
               New Albany OH 43054-3025                COMB IN SCH W/ POC 20 BUT NOT DUPLICATE


                                                                               92000300011033   10/08/13    100029                3,311.46
000020         Discover Bank                         Unsecured          Filed 03/02/12                      $7,951.31           $1,926.45              $6,024.86
070            DB Servicing Corporation                0831
7100-00        PO Box 3025                             SCH F $21,599.42 - OK
               New Albany OH 43054-3025                COMB IN SCH W/ POC 19 BUT NOT DUPLICATE


                                                                               92000300011033   10/08/13    100030                1,926.45
000021         HESS CARLMAN & D'AMOURS LLC Unsecured        Filed 01/02/13               $5,853.13          $0.00                                      $5,853.13
080            POB 449                       3375
7200-00        JACKSON WY 83001              SCH F $6K
                                             FILED TARDY - BAR DATE 3/2/12. ALLOW AS TARDY.
                                             LTR STATES FILED TARDILY BECAUSE ONCE RCVD NOTICE OF REVOCATION OF
                                             DISCHARGE, THOUGHT IT OBLIVIATED ANY NEED TO FILE A POC. WAS ADVISED
                                             BY THE TRUSTEE TO FILE THE TARDY POC.


000022         INTERNAL REVENUE SERVICE              Priority         Filed 06/21/13                        $1,589.00           $1,589.00                  $0.00
040            POB 7317                                FILED TARDY - NPIO
5800-00        PHILADELPHIA PA 19101-7317
                                                                               92000300011033   10/08/13    100011                1,589.00



                  Case Totals:                                                                         $269,344.70             $74,979.11            $194,365.59
 Code #: Trustee's Claim Number, Priority Code, Claim Type




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                                           TRUSTEE’S PROPOSED DISTRIBUTION

                                                                                                         Exhibit D

     Case No.: 11-40208 JDP
     Case Name: ESTAY, PEDRO SERGIO (DECEASED)
                 ESTAY, ANN PARSONS
     Trustee Name: R. SAM HOPKINS
                         Balance on hand                                               $                 5,000.00

               Claims of secured creditors will be paid as follows:

                                                              Allowed            Interim
                                                              Amount of          Payment to      Proposed
      Claim No. Claimant                       Claim Asserted Claim              Date            Payment
                      BMW Financial
      000001S         Services                $          0.00 $            0.00 $          0.00 $            0.00
                 Total to be paid to secured creditors                                 $                     0.00
                 Remaining Balance                                                     $                 5,000.00


               Applications for chapter 7 fees and administrative expenses have been filed as follows:

                                                                            Interim Payments Proposed
                         Reason/Applicant                Total Requested    to Date          Payment
      Trustee Fees: R. SAM HOPKINS                       $        7,761.25 $        6,900.00 $            861.25
      Trustee Expenses: R. SAM HOPKINS                   $        1,101.24 $        1,090.66 $              10.58
      Attorney for Trustee Fees: SERVICE &
      SPINNER                                            $        3,832.00 $        2,728.00 $           1,104.00
      Attorney for Trustee Expenses: SERVICE &
      SPINNER                                  $                   450.89 $            91.20 $            359.69
      Accountant for Trustee Fees: JORDAN &
      COMPANY                                            $         646.00 $           646.00 $               0.00
      Accountant for Trustee Expenses: JORDAN
      & COMPANY                               $                       62.55 $          62.55 $               0.00
      Auctioneer Fees: DAKIL AUCTIONEERS
      INC.                               $                        7,436.00 $        7,436.00 $               0.00




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                                                                                  Interim Payments Proposed
                         Reason/Applicant                     Total Requested     to Date          Payment
      Auctioneer Expenses: DAKIL
      AUCTIONEERS INC.                                    $           2,072.49 $         2,072.49 $            0.00
                 Total to be paid for chapter 7 administrative expenses                     $             2,335.52
                 Remaining Balance                                                          $             2,664.48


               Applications for prior chapter fees and administrative expenses have been filed as follows:


                                                                   NONE


              In addition to the expenses of administration listed above as may be allowed by the Court,
     priority claims totaling $ 1,589.00 must be paid in advance of any dividend to general (unsecured)
     creditors.

                 Allowed priority claims are:

                                                          Allowed Amount          Interim Payments Proposed
     Claim No.            Claimant                        of Claim                to Date          Payment
                          INTERNAL REVENUE
     000022               SERVICE                         $          1,589.00 $          1,589.00 $            0.00
                 Total to be paid to priority creditors                                     $                  0.00
                 Remaining Balance                                                          $             2,664.48


             The actual distribution to wage claimants included above, if any, will be the proposed payment
     less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).

             Timely claims of general (unsecured) creditors totaling $ 246,857.31 have been allowed and
     will be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
     timely allowed general (unsecured) dividend is anticipated to be 25.3 percent, plus interest (if
     applicable).

                 Timely allowed general (unsecured) claims are as follows:




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                                                        Allowed Amount      Interim Payments Proposed
     Claim No.            Claimant                      of Claim            to Date          Payment
     000001U              BMW Financial Services       $      15,589.40 $          3,777.00 $           168.26
                          MD Nursery &
     000002               Landscaping Inc              $       2,091.33 $           506.69 $             22.57
     000003               Flying Saddle Storage        $       2,260.00 $           547.55 $             24.40
                          Thomsen Stephens Law
     000004               Offices, PLLC                $      30,988.21 $          7,507.82 $           334.47
     000006               Cox, Ohman Brandsetter       $       2,261.01 $           547.80 $             24.40
     000007               Action Collection Service    $       3,638.31 $           881.48 $             39.28
     000008               Asset Acceptance LLC         $      13,076.92 $          3,168.27 $           141.15
     000009               Asset Acceptance LLC         $      74,216.92 $         17,981.26 $           801.06
                          American Express
     000010               Centurion Bank               $      12,233.39 $          2,963.90 $           132.05
                          American Express
     000011               Centurion Bank               $        878.25 $            212.78 $              9.48
                          American Express
     000012               Centurion Bank               $       2,200.71 $           533.19 $             23.75
                          FIA CARD SERVICES,
     000013               N.A.                         $      13,554.18 $          3,283.91 $           146.29
                          RECOSER LLC AS
     000014               AGENT FOR                    $      18,257.16 $          4,423.34 $           197.06
                          American Express
     000015               Centurion Bank               $      12,423.52 $          3,009.97 $           134.10
                          American Express
     000016               Centurion Bank               $       1,777.13 $           430.56 $             19.19
                          OUTSOURCE
                          RECEIVABLES
     000017               MANAGEMENT                   $       1,373.59 $           332.79 $             14.83
     000018               US Bank N.A.                 $      18,418.06 $          4,462.32 $           198.80
     000019               Discover Bank                $      13,667.91 $          3,311.46 $           147.53
     000020               Discover Bank                $       7,951.31 $          1,926.45 $            85.81




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                 Total to be paid to timely general unsecured creditors               $               2,664.48
                 Remaining Balance                                                    $                    0.00




             Tardily filed claims of general (unsecured) creditors totaling $ 5,853.13 have been allowed and
     will be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured)
     claims have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent.

                 Tardily filed general (unsecured) claims are as follows:

                                                        Allowed Amount      Interim Payments Proposed
     Claim No.            Claimant                      of Claim            to Date          Payment
                          HESS CARLMAN &
     000021               D'AMOURS LLC                 $       5,853.13 $              0.00 $              0.00
                 Total to be paid to tardy general unsecured creditors                $                    0.00
                 Remaining Balance                                                    $                    0.00




            Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
     subordinated by the Court totaling $ 0.00 have been allowed and will be paid pro rata only after all
     allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
     subordinated unsecured claims is anticipated to be 0.0 percent.

            Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
     subordinated by the Court are as follows:


                                                             NONE




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